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UN|TED STATES D|STR|CT COURT
ALBUQUERQUE, NEW MEX|CO

IN THE UNITED STATES DISTRICT COURT

JUN 0 6 2018
FOR THE DISTRICT OF NEW MEXICO
UNITED STATES OF AMERICA,
Plaintiff,
v. No. 1:18-MJ-1776
ALLISTER QUINTANA,
Defendant.

ORDER TOLLING SPEEDY TRIAL COMPUTATION

The Court, having reviewed the foregoing document, now finds that the ends of justice
served by allowing the request to toll the speedy indictment computation outweigh the interests
of the defendant and of the public in a speedy indictment The Court finds that tolling the speedy
indictment computation will substantially increase the likelihood of the parties reaching a
settlement in this case that would avoid the need for a trial. The Court expressly finds that the
public's interest in a Speedy Indictment is outweighed by the (l) the public's interest in the
potential for pre-indictment resolution of this case, which would result in a quicker resolution of
the case and which would spare the judicial, prosecutorial, defense, and law enforcement
resources that would be expended if this case proceeded to trial; and (2) the potential benefit
conferred upon the defendant in an expedited resolution of the case.

IT IS THEREFORE ORDERED that a period of time not to exceed 60 days, for a total of
90 days, is hereby excluded from the computation of a speedy indictment pursuant to 18 U.S.C. §

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3161(b) and (h)(7)(A).

 

UNITED STATES MAGISTRATE JUDGE

 

 

